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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                         )
                                                 )
        v.                                       )       Case. No. 21-cr-117 (TFH)
                                                 )
ALEX KIRK HARKRIDER                              )
                                                 )
                        Defendant.               )



                         NOTICE OF PUBLIC AUTHORITY DEFENSE

        Defendant Alex Harkrider, through undersigned counsel and pursuant to Federal Rule of

Criminal Procedure 12.3, hereby gives notice that he may assert as a defense at trial that he was

acting under actual or believed public authority at the time of the alleged offenses.


        Defendant submits that, on or about January 6, 2021, he was directed to engage in the conduct

set forth in the indictment by Donald J. Trump and his various conspirators. At the time, Mr. Trump

was vested with the full authority of the Executive Branch as President of the United States of America

and was acting under color of that authority.

                                                Respectfully Submitted,

                                                    /s/
                                                Kira Anne West
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                                       Certificate of Service

I certify that a copy of the forgoing was filed electronically for all parties of record on this 18th
                                        day of July, 2022.
                                       ____/s/__________
                                         Kira Anne West
                                    Attorney for Mr. Harkrider




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